47 F.3d 1180
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Hudie F. GRAY, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent.
    No. 94-3527.
    United States Court of Appeals, Federal Circuit.
    Jan. 4, 1995.
    
      REMANDED.
      ON MOTION
      NEWMAN, Circuit Judge.
    
    ORDER
    
      1
      The Merit Systems Protection Board moves to remand to the Board to permit the Board to conduct a jurisdictional hearing.  The Board states that Hudie F. Gray informed it that he would object.  However, Gray has not filed a response.
    
    
      2
      Accordingly,
    
    IT IS ORDERED THAT:
    
      3
      The motion to remand for further proceedings is granted.
    
    